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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

ABDELRAHMAN F. BADAR,

Plaintiff,                                           Case No 1:18-cv-02169

        v.                                            Honorable Judge Thomas M. Durkin

SOUTHWEST CREDIT SYSTEMS. L.P.,

Defendant.


                                  NOTICE OF SETTLEMENT

        PLEASE TAKE NOTICE that ABDELRAHMAN F. BADAR Plaintiff”), hereby notifies

the Court that the Plaintiff and Defendant, have settled all claims between them in this matter

and are in the process of completing the final closing documents and filing the dismissal. The

Parties anticipate this process to take no more than 60 days and request that the Court retain

jurisdiction for any matters related to completing and/or enforcing the settlement. The Parties

propose to file a stipulated dismissal with prejudice with 60 days of submission of this Notice of

Settlement and pray the Court to stay all proceedings until that time.

Respectfully submitted this 25th March 2019.

                                                            Respectfully submitted,

                                                             s/ Taxiarchis Hatzidimitriadis
                                                             Taxiarchis Hatzidimitriadis
                                                             Sulaiman Law Group, Ltd.
                                                             2500 S. Highland Avenue, Suite 200
                                                             Lombard, IL 60148
                                                             (630) 575-8181
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                                                             Attorney for Plaintiff



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                                  CERTIFICATE OF SERVICE

          I hereby certify that I today caused a copy of the foregoing document to be electronically

filed with the Clerk of Court using the CM/ECF system which will be sent to all attorneys of

record.


                                                              s/ Taxiarchis Hatzidimitriadis
                                                              Taxiarchis Hatzidimitriadis




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